           Case 23-30693           Doc 17         Filed 01/07/24 Entered 01/07/24 04:15:32             Desc Main
                                                     Document Page 1 of 1
               FILED & JUDGEMENT ENTERED
                       Steven T. Salata



                    January 7, 2024



             Western District of North Carolina




                                         UNITED STATES BANKRUPTCY COURT
                                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                                  Charlotte Division
IN RE:
         MARK ALAN ISRAEL                                                        Chapter 13
                                                                                CASE NO: 23-30693
         SSN#: XXX-XX-3627

                                                   ORDER CONFIRMING PLAN
THIS CAUSE COMING ON FOR HEARING BEFORE THE UNITED STATES BANKRUPTCY COURT for consideration of
a Chapter 13 plan proposed by the above-referenced debtor and upon the recommendation of the Chapter 13 trustee, the
Court hereby finds and concludes as follows :
1. The debtor has proposed a plan, including all pre-confirmation modifications to the proposed plan as were filed, and
including any motions for valuation of security and lien avoidance as may be contained in the plan, all of which are
incorporated by reference herein.
2. Notice of the proposed plan, including any modifications to the plan and any motions as referenced hereinabove, was
properly given to all necessary parties in interest.
3. The proposed plan, with any modifications and motions included in the proposed plan, complies with all applicable
provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.
    Based upon the foregoing, IT IS HEREBY ORDERED as follows:
1. The proposed plan of the debtor, with any modifications, is CONFIRMED.
2. Any motions for valuation of security and/or lien avoidance are GRANTED.
3. The trustee shall receive and disburse funds pursuant to the terms of the confirmed plan, applicable provisions of title
11, U.S.C., and any relevant administrative orders of the Court now in effect and that may be entered in the future .

4. All Real Property Creditors who receive Conduit Payments from the Trustee shall Credit the First Conduit Payment as
follows:
           NEWREZ LLC                                 February 2024                   Court Claim #13
   Any party in interest who objects to this Disbursement Credit Date shall file such objection with the Clerk of Court within
fifteen (15) days of the date of entry of this order. The Court shall schedule a hearing with notice to all affected parties in
interest on any such objections that are timely filed.

5. The plan payments and term are $3,200.00 monthly for 60 months.

6. Case to be reviewed in December 2024 regarding commission income.
Plan Summary Docket #(s): 5
This Order has been signed electronically, pursuant to                  Laura T. Beyer
administrative order of the Court. Effective as of date of entry.       UNITED STATES BANKRUPTCY COURT JUDGE
